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18                     IN THE UNITED STATES DISTRICT COURT
                            FOR THE DIST RICT OF NEVADA
19

20   Kajan Johnson, Clarence Dollaway, and Tristan      Case No.: 2:21-cv-01189-RFB-BNW
     Connelly, on behalf of themselves and all others
21   similarly situated,                                PLAINTIFFS’ REPLY MEMORANDUM
22                                                      IN FURTHER SUPPORT OF MOTION
                   Plaintiffs,
                                                        TO COMPEL DEFENDANT
            v.
23                                                      ENDEAVOR GROUP HOLDINGS, INC.,
                                                        TO PRODUCE DOCUMENTS IN
24   Zuffa, LLC, TKO Operating Company, LLC f/k/a
                                                        RESPONSE TO PLAINTIFFS’ FIRST
     Zuffa Parent LLC (d/b/a Ultimate Fighting
                                                        AND SECOND SETS OF REQUESTS
25   Championship and UFC), and Endeavor Group
                                                        FOR PRODUCTION AND FOR
     Holdings, Inc.,
26                                                      SANCTIONS
                   Defendants.
27

28

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 1           Endeavor’s Opposition (ECF No. 188, “Opp.”) fails to grapple with virtually every argument

 2   and substantive fact in Plaintiffs’ Motion (ECF No. 183, “Mot.”). Instead, Endeavor tells a lengthy

 3   and misleading story in an attempt to manufacture a vision of its good faith and cooperation. But

 4   nothing Endeavor says can change the facts: Endeavor flouted this Court’s February 19, 2025 Order,

 5   failed to honor its commitments to provide information necessary for a good faith meet-and-confer

 6   process, and refused to comply with its basic discovery obligations—all after the Court’s warning

 7   that “Endeavor shall NOT in the future refuse, without a court order, to participate” or else face

 8   sanctions “up to and including dispositive sanctions.” ECF No. 176. The concessions Endeavor

 9   makes in its Opposition—that documents responsive to most of Plaintiffs’ First Set of Requests are

10   jurisdictional and that it will produce documents relevant to its “flywheel”—undermine its

11   suggestion that Plaintiffs’ Motion is “needless.” Opp. at 2. They also confirm that Endeavor has not

12   acted in good faith and that the requested relief—including sanctions—is warranted.

13   I.      ARGUMENT

14        A. Endeavor knowingly violated the Court’s February 19, 2025 Order.

15           1. Endeavor refused to participate in jurisdictional discovery responsive to Plaintiﬀs’
                First RFPs.
16
             Plaintiffs’ Motion details Endeavor’s failure to comply with this Court’s February 19, 2025
17
     Order, ECF No. 176, by refusing to meet and confer about any of the First RFPs, even though they
18
     seek jurisdictional discovery. Mot. at 9-16. Endeavor does not attempt to defend its position nor does
19
     it deny that it refused to produce documents in response to the First RFPs. Instead, Endeavor
20
     concedes that “at least 43 of the 84 requests in Plaintiffs’ First RFPs” seek jurisdictional materials
21
     also responsive to the Second RFPs to which Endeavor has agreed to respond. 1 See Opp. at 11-12.
22
             This is the first time Plaintiffs understand Endeavor to have offered this rationalization for its
23
     blanket refusal to produce in response to the First RFPs. Endeavor appears to suggest that by
24
     agreeing to produce materials in response to the Second RFPs that may partially satisfy its
25
     production obligations as to the First RFPs, it has not violated the Court’s Order. Not so. Endeavor
26
     does not demonstrate or even claim that a production in response to a subset of the Second RFPs
27

28   1
          ese First RFPs are Nos. 3-12, 30-37, 39, 40, 44, 46-49, 51-61, 64-66, and 81.
                                                         1
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 1   would fully satisfy the jurisdictional (and overlapping substantive) discovery sought by these 43

 2   First RFPs or ordered by this Court, but rather that its misconduct is modest and excusable because

 3   Plaintiffs would still receive some jurisdictional discovery responsive to some of the First RFPs.

 4          Endeavor’s other response to Plaintiffs’ insistence that Endeavor produce materials

 5   responsive to the First RFPs is that the Court’s February 19 Order did not require Endeavor to

 6   respond to the First RFPs. See Opp. at 3-4. That position is frivolous and contradicts the plain

 7   reading of the transcript Plaintiffs outlined in the Motion. Mot. at 9-10. Regardless, Endeavor now

 8   admits that more than half of the First RFPs seek jurisdictional material (Opp. at 11-12),

 9   undermining any contention that they are not within the scope of discovery that the Court Ordered.

10   Endeavor also asserts, without analysis, that its refusal to confer on the First RFPs is justified

11   because Plaintiffs identified too many Requests in the First RFPs as within the scope of

12   jurisdictional discovery. See Opp. at 2, 4, 10.2 But disagreeing with Plaintiffs’ position does not
13   excuse Endeavor from participating in discovery in good faith.

14          The Court warned Endeavor that it “shall NOT in the future refuse to participate” in

15   discovery. ECF No. 176. Yet, that is exactly what Endeavor did as to the First RFPs. Endeavor’s

16   position—for months—was that it would not produce documents in response to the First RFPs or

17   even to confer about their substance. In other words, Endeavor refused to participate. Endeavor

18   should not now escape the consequences because—despite its refusal to participate—some

19   documents responsive to the First RFPs may be produced. Endeavor’s argument supports granting

20   Plaintiffs’ Motion because it admits that the First RFPs largely seek the jurisdictional discovery the

21   Court ordered Endeavor to participate in or face sanctions.

22          2. Endeavor refused to produce discovery responsive to RFP No. 94 from the Second
               Set.
23
            Endeavor’s about-face on RFP No. 94 conﬁrms that sanctions are appropriate. RFP No. 94
24

25
     2
26     Endeavor contends that Plaintiffs required it to produce documents responsive to “nearly every one
     of its First and Second RFPs,” see, e.g., Opp. at 2; see also id. at 4, 10, to avoid this Motion. But as
27   described in the Motion, Plaintiffs divided the First Set into of five categories from purely
     jurisdictional to purely substantive and offered to meet and confer. See Mot. at 13 (citing ECF No.
28   177-4.) Endeavor refused and limited the scope of discovery it would even negotiate about.
                                                          2
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 1   seeks obvious and highly relevant jurisdictional discovery: documents regarding Endeavor’s

 2   “‘ﬂywheel’ as it pertains to the UFC.” See Mot. at 18. In their Motion, Plaintiﬀs demonstrated, with

 3   quotes from Ari Emanuel (CEO of Endeavor and TKO, the UFC’s corporate parent), Endeavor’s

 4   SEC ﬁlings, and its investor presentations, that Endeavor’s ﬂywheel encompasses what it does for

 5   the UFC, including work related to: streaming, sponsorship, the “experience business,” international

 6   sales, government relations, licensing, entering new international markets, investing in local stars,

 7   content promotion, developing relationships to maximize value from media rights, and “Operating

 8   Synergies” from the UFC’s “integration in Endeavor’s global infrastructure.” 3 See Mot. at 14-15.

 9           Endeavor ignores all of Plaintiffs’ evidence and arguments about why discovery regarding

10   the flywheel is likely the most direct type of jurisdictional discovery ordered by the Court. Instead,

11   Endeavor dismisses its flywheel as a mere “marketing term.” Opp. at 14. That characterization does

12   not square with the Endeavor 2023 Form 10-K it cites in support. See ECF 188-14, at 5. Endeavor

13   then capitulates, stating:

14           To the extent Endeavor takes an active role in supporting any part of UFC’s business,
             documents regarding any such support will be captured by Endeavor’s proposals
15           regarding jurisdictional discovery. Nonetheless, to reduce the scope of the parties’
             dispute, Endeavor will (without waiving its objections) agree to produce documents
16
             responsive to RFP No. 94.
17
             Opp. at 14-15. Until now, Endeavor has refused to produce any documents responsive to
18
     RFP No. 94, asserting that it was “beyond the scope of the jurisdictional discovery permitted by the
19
     Court.”4 See ECF 183-12. Endeavor’s meritless position necessitated Plaintiffs’ Motion. As
20
     Endeavor now concedes, flywheel documents responsive to RFP No. 94 are, at least in part,
21
     responsive to RFP Nos. 85-92. That means they necessarily are the exact jurisdictional discovery
22
     that this Court ordered Endeavor to produce and, absent Plaintiffs’ Motion, it refused.
23

24
     3
25     Many of the First RFPs go to these topics as they seek documents: relating to agreements with UFC
     sponsors (RFP No. 66); and relating to agreements with broadcasters of MMA events (RFP No. 64).
26   4
       Endeavor ultimately agreed to include the word “flywheel” as a search term. However, the word
     alone will not capture documents that reflect flywheel activities. For example, as Mr. Emanuel said
27   of the flywheel, “we do [the UFC’s] sponsorship business.” Mot. at 15. It is not reasonable to
28   assume Endeavor’s relevant sponsorship documents are consistently labeled as “flywheel.”
                                                  3
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 1       B. Endeavor’s conduct precluded meaningful progress on other aspects of discovery.

 2          Endeavor’s refusal to participate in good faith in the discovery process has meant that the

 3   parties have been unable to agree on the scope of discovery. That has made effective negotiations

 4   over search terms, custodians, and custodial and non-custodial document sources impossible.

 5          Search terms. Endeavor faults Plaintiffs for their approach to search terms. However,

 6   Endeavor insisted upon tying search terms to specific discovery requests. 5 E.g., ECF 183-6. Because

 7   Endeavor refused to produce documents responsive to the First RFPs or RFP No. 94, it likewise

 8   refused to negotiate search terms designed to locate documents responsive to those Requests. Id.

 9   Plaintiffs were not willing to agree to search terms that did not include these Requests. 6

10          The parties are not strangers to the fact that the scope of discovery must be established before

11   search terms can be negotiated. Zuffa’s counsel (Endeavor’s counsel here) and Plaintiffs’ counsel in

12   Le v. Zuffa, LLC, No. 15-cv-1045 (D. Nev.), engaged in a lengthy process to identify appropriate

13   search terms that included first negotiating the scope of the discovery requests, then identifying (and

14   litigating) custodians, and exchanging data on the number of documents and sources those

15   documents collected by custodian. See, e.g., Joint Status Reports, Le v. Zuffa, LLC, No. 15-cv-1045,

16   ECF No. 199, 206, 213. The parties then engaged experts to participate in negotiations over the

17   reasonableness of search terms and submit reports to the Court concerning the parties’ proposals and

18

19   5
       Endeavor now claims it does not intend to restrict its production of documents based on whether a
20   document hits on the set of search terms applicable to the request to which the document is
     responsive. Opp. at 10. Endeavor is incorrect that this willingness to properly review and produce
21   documents that hit on search terms renders Plaintiﬀs’ citation to the Sedona Conference materials
     inapposite. Id. at 5 n.4. Endeavor still oﬀends the Sedona principles because it used Plaintiﬀs’
22
     hesitance to negotiate search terms while Endeavor refused to negotiate the scope of the RFPs,
23   custodians and documents sources as cover for imposing inadequate terms. See Mot. at 3-4.
     6
       Endeavor makes much out of the time that elapsed between its March 14 search term proposal and
24
     Plaintiﬀs’ March 29 response. E.g., Opp. at 8-9. But throughout that time, Plaintiﬀs diligently
25   worked to meet and confer as to the scope of discovery (i.e., to which requests Endeavor would
     respond) and what documents Endeavor would search (i.e., which custodians and from which
26   sources). See, e.g., Mot. at 9-12 (discussing correspondence relating to the meet and confer process);
     Exs. B, D, H, J, M to Mot. (correspondence over that period). As discussed herein, unless or until
27   Endeavor was willing to meet and confer on the First RFPs, search term negotiations could not
28   meaningfully proceed rendering the time that elapsed between the parties’ proposals irrelevant.
                                                  4
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 1   results. See id., ECF Nos. 214, 218, 220, 221, 244. Throughout the search term negotiations, the

 2   parties exchanged search term hit reports and random selections of documents hitting on challenged

 3   search terms to facilitate targeted amendments to terms. Despite the productive negotiations in Le,

 4   Endeavor has refused to engaged in a similarly cooperative process here, reneged on its commitment

 5   to share information regarding custodial and document sources, and refused to meet and confer on

 6   the First RFPs that Endeavor now concedes largely seek jurisdictional discovery.

 7          Endeavor takes issue in the abstract with Plaintiffs’ placeholder search term proposal,

 8   arguing about the particular terms proposed and whether they are appropriately targeted at

 9   jurisdictional discovery. See Opp. at 8-10. But this approach misses the point. In the parties’ meet

10   and confer, Endeavor was only willing to negotiate search terms as to a subset of the Second RFPs

11   and refused to participate in a good faith discussion of custodians and custodial and non-custodial

12   document sources, despite previously committing—in writing—to provide such information. See

13   Mot. at 8 (discussing Ex. A to Mot.). Without an understanding of the volume of documents hit by

14   these search terms, agreement as to the scope of discovery, and the identification of appropriate

15   sources, Endeavor’s concerns with Plaintiffs’ search terms are meaningless.

16          Custodians. Plaintiﬀs detailed how Endeavor’s refusal to engage on Plaintiﬀs’ Rule 34

17   requests stymied negotiations regarding custodians. Mot. at 16-17 (discussing Endeavor’s refusal to

18   provide custodian information it had previously agreed to provide and respond to RFP Nos. 27, 42,

19   61, 63 & 65 from Plaintiﬀs’ First Set). Endeavor does not respond to those arguments and thus

20   concedes them. Instead, Endeavor relies on misdirection and manufactured claims of

21   misrepresentation. For example, Endeavor argues that Plaintiﬀs misrepresented its statements that it

22   does not have organizational charts , but in the next sentence conﬁrms that “no such organizational

23   charts”—i.e., organizational charts of people—“exist.” Opp. at 8 (emphasis added). Endeavor’s

24   semantic games notwithstanding, the fact remains that it has not produced materials identifying

25   potential document custodians.

26          Endeavor relies on a subtle misdirection regarding the custodians that it purports to have

27   identiﬁed, stating that it oﬀered “the organization’s top management” as custodians, Opp. at 6

28
                                                 5
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 1   (emphasis added). However, RFP Nos. 27, 42, 61, 63, and 65, ask for documents suﬃcient to

 2   identify “Persons,” “employees,” “agents,” and those with “managerial responsibilities,” all are not

 3   necessarily Endeavor’s “top management.” Endeavor’s purported cooperation is materially

 4   incomplete and does not relieve it of the obligation to respond to discovery. In sum, Endeavor

 5   conﬁrms it does not have organizational charts that identify people; and its self-identiﬁcation of

 6   potential custodians is incomplete.    us, documents responsive to RFP Nos. 27, 42, 61, 63, and 65,

 7   are even more important.

 8          Endeavor’s response to Plaintiﬀs’ Exhibit P, which is a compilation of detailed job

 9   descriptions posted by Endeavor on LinkedIn, is telling. Mot. at 21, Ex. P.      ose exemplars

10   demonstrate that Endeavor possesses detailed information about job roles and responsibilities.

11   Endeavor responds that Exhibit P reﬂects a “misrepresentation in Plaintiﬀs’ Motion” because

12   “Endeavor never took the position that no such information exists, Mot. at 17, only that it does not

13   have pre-existing lists identifying individuals with relevant information.” Opp. At 16 n.17. As with

14   the ﬂywheel, caught ﬂatfooted, Endeavor’s Opposition reveals the semantic game of cat-and-mouse

15   it has made of discovery and all but conﬁrms that discovery responsive to RFP Nos. 27, 42, 61, 63,

16   and 65, likely exists though not as a “pre-existing list.”

17          Finally, further proof of Endeavor’s lack of good faith is its continuing failure to explain why

18   it failed to honor its December 3, 2023 agreement to provide Plaintiﬀs “with general job titles or

19   descriptions of custodians, agents, and representatives for whom it believes ESI should be

20   preserved” as part of the meet and confer process. Mot. at 17-18. Indeed, Zuﬀa provided a list of

21   individuals subject to litigation holds on April 7, 2025, see (Ex. A, Apr. 7, 2025 letter from Phillips),

22   complying with its obligations under the same agreement.

23      C. Endeavor’s timeline is not consistent with the facts.

24             e timeline in Endeavor’s Opposition is not consistent with the facts because it ignores and

25   fails to explain Endeavor’s refusal to participate in discovery before this Court ordered it to do so.

26   See Mot. at 18-19. And, Endeavor contends that it should not be subject to sanctions because

27   “Immediately following the parties’ [March 5, 2025] joint submission of competing jurisdictional

28
                                                  6
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 1   discovery proposals to the Court [ECF No. 177], Endeavor reached out to Plaintiﬀs to begin

 2   jurisdictional discovery….” Opp. at 17 (bolded emphasis added; italics in original).    e disputes in

 3   the Joint Submission were substantial, in part, because Endeavor dragged its feet after the Court

 4   directed the parties on February 19th to meet and confer on a discovery plan speciﬁc to Endeavor.

 5     e parties met and conferred on February 24, 2025, but Endeavor was unprepared to substantively

 6   discuss discovery. ECF No. 177-4, at 3. Plaintiﬀs sent a detailed letter on February 26, 2025, setting

 7   out the document requests that should be the subject of discovery and a proposed schedule. ECF No.

 8   177-4. Endeavor did not respond until March 1, and even then did not engage substantively, saying

 9   that it would not produce documents responsive to the First RFPs. ECF No. 177-5.

10      D. Endeavor’s reliance on the parties’ Joint Submission is misplaced.

11             is Court ordered the parties to submit a joint proposed schedule and status report regarding

12   the meet and confers which they ﬁled on March 5, 2025. ECF 177; Feb. 19, 2025 Tr., at 35:24-26:11.

13     e Joint Submission identiﬁed the discovery disputes at that time; it was not a motion nor did it

14   preclude the ﬁling of a motion or this Court’s authority to impose sanctions. By Endeavor’s logic, to

15   avoid sanctions for refusing to comply with the February 19 Order to participate in discovery, it

16   needed only to negotiate as of the ﬁling of the Joint Submission after which time it could refuse all

17   discovery without consequence.     at can hardly be what the Court contemplated when it Ordered

18   that “Endeavor shall NOT in the future refuse, without a court order, to participate” in discovery.

19   ECF No. 176. To the extent the Joint Submission spelled out the parties’ positions, it was a snapshot

20   in time. Regardless, it was only after the ﬁling of the Joint Submission that the extent of Endeavor’s

21   untenable positions and unwillingness to engage in good faith became fully apparent. Considering

22   that the Court had no pending motions before it on the issues raised by Endeavor’s failures, and with

23   more than a month passing since the Joint Submission with no production (save 8 corporate structure

24   charts), Plaintiﬀs were justiﬁed in considering the parties at an impasse and moving to compel.

25      E. Endeavor should be sanctioned.

26          1. Endeavor did not proceed in good faith.

27          As set forth above and in the Motion, Endeavor has not engaged in discovery in good faith.

28
                                                 7
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 1   Endeavor refused to participate in discovery as to the vast majority of Plaintiffs’ discovery requests

 2   that Endeavor now admits are within the scope of jurisdictional discovery and refused to honor

 3   commitments to provide information on custodians and document sources (which its co-Defendant

 4   Zuffa has provided). Endeavor does not deny these facts and fails to refute Plaintiffs’ Motion arising

 5   out of those facts. Instead, Endeavor points to the few instances when it retreated from its extreme,

 6   indefensible positions during the meet-and-confer process after Plaintiffs pushed repeatedly. That is

 7   not good faith. For example, Endeavor seeks credit for serving disclosures pursuant to Fed. R. Civ. P.

 8   26(a) that identiﬁed Endeavor employees and document sources over a year after the agreed-to

 9   deadline and after Plaintiﬀs requested for months that it do so. Endeavor says it was “without having

10   any obligation to do so,” Opp. at 18, but that is not true.   ough nominally made on its behalf,

11   Endeavor’s previous disclosures listed no Endeavor-speciﬁc witnesses or document sources.

12   Endeavor’s reluctant compliance with the Federal Rules over a year hence is not to be celebrated.

13           More importantly, even after this supplement, Endeavor’s disclosures remain woefully

14   deﬁcient. With Endeavor’s disclosure of custodians and document sources deficient and the scope of

15   discovery substantially unsettled given Endeavor’s blanket refusal to meet and confer on Plaintiffs’

16   First RFPs, Plaintiffs have been denied access to fundamental steps in the discovery process that

17   should not have required the Court’s involvement. Endeavor’s failure to agree to produce “flywheel”

18   documents in response to RFP No. 94 until after this Motion was filed, Opp. at 14-15, only

19   demonstrates its lack of good faith. Similarly, Endeavor’s claims that it “proposed a broad search for

20   materials responsive to most of Plaintiﬀs’ RFPs and consistent with the Court’s instructions on

21   jurisdictional discovery,” Opp. at 21, is demonstrably false. Endeavor has steadfastly refused to

22   produce documents responsive to Plaintiﬀs’ First RFPs throughout the entire meet and confer.

23          2.        e balance of factors weighs in favor of dispositive sanctions.

24               i.   Public interest in expeditious resolution and the Court’s need to manage its docket.

25          Endeavor has prevented this action from proceeding expeditiously. Plaintiffs are before the

26   Court for the second time in months because Endeavor has failed to engage in discovery in good

27   faith and directly defied the Court’s Order to engage in jurisdictional discovery expeditiously.

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 1          Endeavor responds that Plaintiffs have added “paper to a currently pending dispute.” Opp. at

 2   20. As discussed, there was no such pending dispute, only the Joint Submission with nothing for the

 3   Court to rule upon. Only after filing of this Motion did Endeavor agree to produce key “flywheel”

 4   documents. Endeavor has pushed this dispute to beyond the original deadline for substantial

 5   completion (April 18, 2025) having produced on 8 corporate structure charts that do not identify a

 6   single person. It cannot seriously contend that the factors of expeditious resolution and the Court’s

 7   need to manage its docket do not warrant sanctions. “Orderly and expeditious resolution of disputes

 8   is of great importance to the rule of law. By the same token, delay in reaching the merits, whether by

 9   way of settlement or adjudication, is costly in money, memory, manageability, and conﬁdence in the

10   process.” In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 460 F.3d 1217, 1227 (9th Cir. 2006).

11   In short, these factors weigh in favor of dispositive sanctions.     is case indeed compares favorably

12   to those where sanctions were appropriate when a party was silent during discovery. See, e.g.

13   Fernandez v. Cox, No. 14-cv-00578, 2016 WL 8710431, at *3 (D. Nev. Sept. 2, 2016) report and

14   recommendation adopted, No. 14-CV-00578, 2016 WL 7422641 (D. Nev. Dec. 21, 2016) (imposing

15   sanction of default against non-participating defendant).     is Court should be allowed “to manage its

16   docket without being subject to routine noncompliance of litigants[.]” Pagtalunan v. Galaza, 291

17   F.3d 639, 642 (9th Cir. 2002), cert. denied, 538 U.S. 909 (2003). Endeavor’s conduct has unduly

18   obstructed the Court’s exercise of its proper ability to function.

19            ii.   Risk of prejudice to Plaintiﬀs

20          The risk of prejudice factor greatly weighs in favor of dispositive sanctions, especially

21   because Endeavor has thumbed its nose at the Court and defaulted on its discovery obligations under

22   explicit threat of dispositive sanctions. Plaintiffs have only 8 documents from Endeavor to date. Yet,

23   Plaintiffs still have no assurance that Endeavor will produce jurisdictional discovery beyond a subset

24   of Plaintiffs’ Second RFPs. Plaintiffs are prejudiced because they have been unable to make the

25   necessary progress on negotiating search terms and sources. Plaintiffs are behind in learning not only

26   what they need to know about Endeavor’s role in the UFC’s alleged scheme, but in their prosecution

27   of this case against the other Defendants. Plaintiffs need to know additional Endeavor custodians

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 1   engaged in UFC business, and to be able to effectively target ESI sources and understand what ESI

 2   is being preserved. Where blatant disregard of discovery obligations has hindered a party’s ability to

 3   prepare for trial, “the prejudice . . . is clear.” Wardell v. Cnty. of Los Angeles, No. CV 06-567, 2008

 4   WL 2220937 at *3 (C.D. Cal. May 21, 2008); see also Henry v. Gill Indus., Inc., 983 F.2d 943, 948

 5   (9th Cir. 1993) (“A [party] suffers prejudice if the [opponent’s] actions impair the [party’s] ability to

 6   go to trial or threaten to interfere with the rightful decision of the case.”). Moreover, Plaintiffs

 7   recently agreed to a proposal to extend their substantial completion deadline. ECF No. 187. Plaintiffs

 8   will be prejudiced if Endeavor’s production is incomplete and discovery from all defendants is not

 9   produced, analyzed and utilized together. Plaintiffs understand that one reason the Court ordered

10   Endeavor to produce overlapping substantive discovery was to eliminate the exact asymmetry

11   arising from Endeavor’s refusals to produce.

12          Endeavor feebly argues that Plaintiﬀs are not prejudiced because it has “proposed a broad

13   search for materials” related to jurisdictional discovery. Opp. at 21. But Endeavor does not and

14   cannot say that it has proposed to produce all jurisdictional discovery to which Plaintiﬀs are entitled.

15   Regardless, Plaintiﬀs are not required to rely on Endeavor’s say-so in discovery negotiations.         ey

16   are entitled to transparency and information suﬃcient to independently conﬁrm that an appropriate

17   search is being conducted. Endeavor’s claim also does nothing to diminish the prejudice Endeavor

18   has caused Plaintiﬀs. Endeavor’s authorities are inapposite. For example, in United States v.

19   Semenza, No. 22-cv-2059, 2024 WL 5294520, at *2 (D. Nev. Dec. 19, 2024), report and

20   recommendation adopted, No. 22-cv-02059, (D. Nev. Jan. 7, 2025), the court denied sanctions

21   because the defendants “complied with the Court's order by searching for the remaining documents,

22   using search terms agreed to by the parties.” Here, Endeavor has deﬁed the Court and has continued

23   its practice of not engaging in good faith. Plaintiﬀs’ risk of prejudice greatly weighs in favor of

24   dispositive sanctions.

25            iii.   Public policy favoring disposition of cases on their merits

26          Endeavor’s refusal to honor its discovery obligations, even under threat of sanctions, has

27   profoundly jeopardized the truth-seeking process, as witnesses’ memories continue to fade and

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 1   documents may already be lost with little protection against future losses. 7 In deciding whether to
 2   impose case-dispositive sanctions, “the most critical factor is not merely delay or docket

 3   management concerns, but truth.” Conn. Gen. Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d

 4   1091, 1097 (9th Cir. 2007). “True facts must be the foundation for any just result.” Valley Eng’rs,

 5   Inc. v. Elec. Eng’g Co., 158 F.3d 1051, 1058 (9th Cir. 1998). With only 8 documents produced by

 6   Endeavor and its continuing refusal to produce much of the jurisdictional discovery and overlapping

 7   substantive discovery to which Plaintiﬀs are entitled, the truth-ﬁnding process has been critically

 8   endangered. Nothing less than dispositive sanctions are appropriate.

 9            iv.   Availability of less drastic sanctions

10          Where a disobedient party has already been warned about the danger of dispositive sanctions

11   and continues to engage in discovery abuses default is favored. Here, the Court’s warning that

12   sanctions would be appropriate if Endeavor was not more forthcoming has been ignored. Where a

13   party has “engaged in a long pattern of misconduct” amidst “repeated warnings that failing to

14   comply with the Court’s orders could result in the imposition of severe sanctions, up to and

15   including case-dispositive sanctions,” courts have found that considerations of sanctions less severe

16   than default would be “insufficient.” Lewis v. Caesars Entertainment Corp., No. 16-cv-2787, 2019

17   WL 1571281 at *6-7 (D. Nev. Apr. 11, 2019) report and recommendation adopted, No. 16-cv-2787,

18   2019 WL 1937564 (D. Nev. Apr. 30, 2019).

19          Endeavor cites Gonzalez v. Baker, No. 20-cv-1879, 2022 WL 2080089 (D. Nev. Jun. 8.

20   2022), where less drastic sanctions were found appropriate to remedy the prejudice claimed by the

21   plaintiff. There, the court found the defendant had agreed to produce the materials in question. Id. at

22   *5. Here, in the Opposition, Endeavor has agreed to produce a small fraction of the discovery at

23

24   7
      Considering Endeavor’s limitation of its custodians to “top management”, the risk of loss of
25   documents from other employees, particularly as this case was ﬁled in 2021, is high and grows daily.
     While at least three of Endeavor’s custodians have personal devices subject to a hold (which may
26   contain Endeavor related communications), its position on whether it has possession, custody or
     control of such communications is pending. Troublingly, Endeavor conﬁrmed that even as to mobile
27   devices Endeavor issued, it does not “manage or back up other non-enterprise communications
28   channels, such as SMS [and] WhatsApp.” Ex. B Apr. 23, 2025 Email from Medina-Garcia.
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 1   issue; if Endeavor were ordered to produce that discovery now, its conduct to date reveals that

 2   further delays and obstruction would be inevitable, and Plaintiffs would suffer even greater

 3   prejudice. This case fits more squarely with those cases where courts have concluded that the pattern

 4   of misconduct warrants the steepest sanction. See, e.g., Panliant Fin. Corp. v. Isee3d, Inc., No. 12–

 5   cv–1376, 2015 WL 5176586 (D. Nev. Sept. 4, 2015) (rejecting less severe sanction than default

 6   where defendant failed to participate in good faith and ignored court’s prior warning of sanctions).

 7          3. Absent dispositive sanctions, lesser sanctions are appropriate.

 8          If the Court chooses not to impose case-dispositive sanctions, lesser sanctions are

 9   appropriate, including not permitting Endeavor to assert a jurisdictional defense or allowing an

10   adverse instruction to the jury deeming Endeavor to have participated in the challenged conduct at

11   the heart of Plaintiﬀs’ case on the merits. Endeavor’s response is simply that lesser sanctions are

12   inappropriate because it has participated in discovery in “good faith.” Opp. at 23. Not so.

13          Endeavor’s position is that if its conduct was sanctionable, lesser sanctions “could remedy

14   Plaintiﬀs’ alleged prejudice and move this case forward.” Opp. at 23. While lesser sanctions may

15   reduce or contain the prejudice Plaintiﬀs continue to suﬀer, the resulting prejudice to the overall

16   prosecution of the case cannot be fully measured. In short, Endeavor must be sanctioned so that its

17   discovery abuses are not rewarded, and lesser sanctions must be imposed in the event the Court

18   decides against dispositive sanctions. It is well established that “contumaciousness toward the court

19   needs a remedy.” Valley v. Eng'rs Inc. v. Elec. Eng'g Co., 158 F.3d 1051, 1057 (9th Cir. 1998). But in

20   no uncertain terms, lesser sanctions would not fully “remedy” the prejudice to Plaintiﬀs in the

21   prosecution of this case against Endeavor or Defendants as a whole.

22   II.    CONCLUSION

23          Plaintiffs respectfully request that the Court grant Plaintiffs’ Motion.

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